                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                             5:04CV60-2-V
                           (5:00CR46-01-V)


THEODORE THOMAS WADDELL,      )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon Petitioner’s Motion to

Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. §

2255, filed May 3, 2004 (documents # 1); and on the Government’s

Answer and de facto motion for summary judgment, filed October

13, 2004 (document #9).      After having carefully considered the

foregoing pleadings along with Petitioner’s responses to the

Government’s motion for summary judgment (filed November 1 and

22, 2004 as document ## 12 and 13), the Court has determined that

Petitioner has established that his appellate counsel was defi-

cient for having failed timely to advise him both of the denial

of his direct appeal and his right to seek further review.

Therefore, Petitioner is entitled to the limited remedy of moving

the Fourth Circuit Court of Appeals to reenter its final Judgment

so that he can consider whether or not to seek certiorari review

in the U.S. Supreme Court.




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      However, consistent with the controlling precedent in this

Circuit, this Court also has reviewed Petitioner’s other claims

and determined that he has failed to establish an entitlement to

relief on his remaining claims against his former attorneys.

Therefore, Petitioner’s Motion to Vacate will be granted in part

and denied in part as hereafter explained in greater detail.

                I.    FACTUAL AND PROCEDURAL BACKGROUND

      On November 6, 2000, a Bill of Indictment was filed charging

Petitioner and three others with having conspired to possess with

intent to distribute five kilograms or more of cocaine powder and

50 grams or more of cocaine base, in violation of 21 U.S.C. §§

841 and 846 (Count One)(Case 5:00CR46, document # 3).1              The con-

spiracy allegedly operated from 1991 up until the time that the

Indictment was filed in 2000.

      On April 25, 2001, one of Petitioner’s co-defendant/co-

conspirator’s, Robert Mott, filed a Plea Agreement by which he

agreed to plead guilty to the conspiracy charge (Case 5:00CR46,

document # 45).      On May 16, 2001, Mott appeared before the Court

and entered his guilty plea.        In the meantime, on May 8, 2001,

Petitioner and his two remaining co-defendants/co-conspirators

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       In addition, co-defendant Robert Mott was charged with having been a
felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1) (Count
Two); and co-defendants Byron Lattimore and William Eckles were charged with
having possessed firearms during and in relation to drug trafficking offenses,
in violation of 18 U.S.C. § (924(c)(1) (Counts Three and Four, respectively).
However, Mott’s plea agreement provided for the dismissal of his gun charge,
and the Court subsequently granted the Government’s motion to dismiss the gun
charges against Lattimore and Eckles before those matters were submitted to
the jury.

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opted for a trial jury.

       Also on May 8, 2001, Petitioner’s attorney filed a document

captioned as a “Motion For Leave To Late-File” seeking permission

to file an out-of-time motion to suppress on the ground that he

just had discovered the basis for seeking the suppression of the

drug evidence which was obtained from Petitioner’s vehicle during

a traffic stop in Glynn County, Georgia.           (Case 5:00CR-46, docu-

ment # 70).      Counsel also filed the subject Motion to Suppress,

asserting that a December 1997 vehicle search which yielded

packages of cocaine powder was conducted without Petitioner’s

consent or any other legal authority.           (Case 5:00CR46, document #

71).

       The Court noted that the Motion should have been made soon-

er; however, out of an abundance of caution, it decided to enter-

tain the Motion.       (Trial Tr., filed Jan. 4, 2002, 9).          Neverthe-

less, the Court rescheduled that Motion to be heard during the

trial due to counsel’s tardy arrival on the morning it originally

was scheduled to be heard.

       Once the Motion hearing commenced on voir dire, the Govern-

ment presented the testimony of Officer Mike Owens of the Glynn

County Police Department in Georgia.           (Trial Tr. 370).      Officer

Owens testified that on December 31, 1997, he was patrolling

Interstate 95 when he observed Petitioner’s vehicle veer onto the

shoulder.     (Trial Tr. 371).      Consequently, Owens stopped the car,


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reviewed Petitioner’s license and had him perform a sobriety

test, which Petitioner passed.      (Trial Tr. 372-73).

     Officer Owens also engaged Petitioner in a conversation

during which Petitioner denied that he had been drinking, but

explained that he was tired from having driven his girlfriend

(Angela Humes), who was with him, to visit her family in Georgia.

(Trial Tr. 373).    However, when Officer Owens went to Petition-

er’s car to retrieve his registration and insurance documents

Ms. Humes told Owens that she and Petitioner were returning from

Miami and Orlando, Florida.      (Trial Tr. 373-74).         Officer Owens

wrote Petitioner a warning ticket, told him he was free to leave

and asked if he had any drugs, money or weapons in his car.

(Trial Tr. 374).    Owens testified that Petitioner hesitated, but

then denied having had any of those items in his car; and that

Petitioner granted his request for permission to search the car.

(Trial Tr. 374-76).

     On cross-examination, Officer Owens stated that his car did

not have recording equipment in 1997; that Petitioner had not

appeared to be nervous during their encounter; that his suspi-

cions were aroused by the inconsistencies between Petitioner and

Humes’ statements and by certain of Petitioner’s answers which

did not appear to make sense; and that he called for back-up

officers because he suspected that Petitioner may have been

involved with drugs. (Trial Tr. 377-81).        Owens also stated that


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by the time Petitioner consented to the search, a K-9 officer had

arrived, at which point Owens advised that the dog would be used

for an initial perimeter search in order to save time.                 (Trial

Tr. 384).     However, once the dog alerted the officers to the

presence of narcotics in the car, a full search revealed two

packages of cocaine powder inside two separate interior panels.

(Trial Tr. 385-89).

       At the conclusion of that testimony, the Court found that

the Government presented credible evidence to establish that

Owens properly had stopped Petitioner’s car and that Petitioner

voluntarily had consented to the search (Trial Tr. 400).                  Accord-

ingly, the Court denied Petitioner’s Motion to Suppress and

agreed to permit the admission of the foregoing testimony.

(Trial Tr. 400).       In due course, the Government called Officer

Owens and presented that testimony to the jury.                 (Trial Tr. 401-

16).

       Relevant to Petitioner’s conviction, the Government also

presented testimony from Paul Bines who stated that he had known

Petitioner for 10 or more years; that at some point in 1997, he

approached Petitioner at Petitioner’s auto shop and asked if he

had cocaine to sell; that he had approached Petitioner because he

had heard about Petitioner’s drug-related activities; that on the

first occasion, Petitioner sold Bines four ounces of cocaine base

for $4,000 dollars; that he made numerous additional four-ounce


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cocaine base purchases totaling approximately 18 to 20 ounces;

that for a period of time, he stopped purchasing from Petitioner

due to Petitioner’s arrest; that during the time that Petitioner

was unavailable, Bines purchased varying amounts of cocaine base

from Petitioner’s co-defendants; that he resumed purchasing co-

caine base from Petitioner in or around the summer of 1998,

making no more than four purchases of three-ounce packages from

Petitioner; that a couple of those purchases involved cocaine

which Petitioner advised had been tainted with diesel fuel; and

that Bines stopped trafficking in drugs when Bines got arrested

in September 1998.    (Trial Tr. 31-45).

     On cross-examination, Bines conceded that he is a convicted

felon; that he had failed to give all of the foregoing informa-

tion to investigators during his debriefings; that his memory was

better during his 1998 debriefings than at trial; and that he was

cooperating and testifying in hope of receiving a reduced sen-

tence.   (Trial Tr. 51-72).

     Terry Barringer testified that he had known Petitioner since

the 1970s, and had begun buying cocaine base from him in the sum-

mer of 1997; that he initially bought two ounces of cocaine base

from Petitioner and continued to buy two-ounce packages from him

about twice per week for a two-month period; (Trial Tr. 84-89).

     On cross-examination, Barringer admitted that he then was

serving a prison sentence for a drug-related conviction; that


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Petitioner was not a party to the drug conspiracy for which he

was convicted; that he was on parole during the time that he was

purchasing drugs from Petitioner; and that he had agreed to co-

operate with the Government out of the goodness of his heart.

(Trial Tr. 97-107).

     The Government also called several law enforcement witnesses

to testify.   Deputy Sheriff Clarence Harris of the Iredell County

Sheriff’s Office testified that he used a confidential informant

to secure information about the subject conspiracy; that in De-

cember 1997, his informant told him that Petitioner was a known

drug supplier in the Statesville, North Carolina area; and that

on December 19, 1997, Harris used an undercover officer from

another police department (Larry Welch) to purchase 14 grams of

cocaine base from Petitioner.      (Trial Tr. 119-26).       However,

Deputy Harris admitted that he did not personally observe the

sale as it was conducted, and he did not attempt to obtain

fingerprint evidence from the packages.        (Trial Tr. 142-43).

     Officer Larry Welch of the Concord, North Carolina Police

Department testified that on December 19, 1997, while working

undercover, he accompanied an informant to Petitioner’s business

where a 13.9-gram package of cocaine base was purchased from

Petitioner; that on the occasion of the transaction, he wore a

monitoring device; that he and Petitioner directly discussed the

price for the 13.9-gram package; and that he also discussed the


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purchase of an “egg,” that is, an ounce-sized package, with Peti-

tioner, during which conversation Petitioner declined to lower

his $1,100 per ounce price because he said his cocaine was a

higher quality than other dealers’ drugs.         (Trial Tr. 159-64).

On cross-examination, Welch stated that he had no knowledge of

Petitioner before the transaction took place.          (Trial Tr. 167).

     Former Statesville Police Officer David Woodward testified

that in June 1998, an informant (Victor Hairston), wore a record-

ing device, went to Petitioner’s auto shop, paid him $100 for an

earlier cocaine base debt, and purchased an additional quarter

ounce of powder cocaine.     (Trial Tr. 184-88).       Woodward further

told the jury that on the following day, the informant and an

undercover officer from the Salisbury Police Department (Michael

Dummett) returned to Petitioner’s auto shop and negotiated the

purchase of two ounces of cocaine from Petitioner. (Tr. at 184-

196).   Woodward also authenticated the packages of drugs which

were obtained from Petitioner and the tapes which were made on

the above-referenced occasions.      (Trial Tr. 190-195).

     On cross-examination, Woodward told the jury that after the

second sale was negotiated with Petitioner, a third party deli-

vered the two bags of powder cocaine; that no fingerprint analy-

ses were performed on the packages; and that Hairston was

cooperating with authorities in order to help his own legal

situation; (Trial Tr. 208-214).


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     The undercover police officer, Lieutenant Mike Dummett,

testified that he was present during the two-ounce negotiation

between Hairston and Petitioner at Petitioner’s auto shop; that

he heard Petitioner inquire about whether it was okay to make the

transaction in his (the officer’s) presence before Petitioner and

Hairston began discussing the transaction; that Petitioner ad-

vised that although the cocaine smelled like fuel, it still was

usable; that after the negotiation was concluded, Hairston called

Petitioner and was told that Petitioner would have someone meet

them to consummate the deal; that a man then met them at Peti-

tioner’s home and directed them to another location where the

two-ounce deal was completed for $1,860; and that the cocaine

smelled like some type of fuel, just as Petitioner had described.

(Tr. 226-47 and 252).

     Victor Hairston, the informant, testified that he had never

been convicted of any crime; that his stepfather is Petitioner’s

cousin; that in early June 1998, he owed Petitioner $100 for an

earlier cocaine purchase; that on June 10, 1998, he wore a re-

cording device, went to Petitioner’s auto shop and paid him the

$100; that Petitioner then gave Hairston three additional grams

of cocaine, which cocaine Petitioner described as smelling like

kerosene; that Petitioner also told Hairston that he wanted to

sell an additional three ounces of the kerosene-smelling cocaine

at a discounted price of $900 per ounce; that on the following


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day, Hairston and an undercover officer returned to buy the co-

caine from Petitioner; and that Petitioner directed Hairston and

the officer to Petitioner’s home and then to a convenience store

where they completed the deal. (Trial Tr. 260-82).           Hairston also

authenticated the recordings and corresponding transcripts of two

of the conversations which he recorded with Petitioner in June

1998.   (Trial Tr. at 283-85).

     On cross-examination, Hairston stated that his $100 payment

was for drugs which he had not directly received from Petitioner;

that he and Petitioner never had discussed drugs prior to the oc-

casion when Hairston paid him the $100; that Hairston’s reason

for approaching Petitioner was to see whether he would show

interest in selling drugs; that Hairston was the one who brought

up the possibility of the additional three-ounce purchase; and

Hairston clarified that the three-ounce sale was consummated with

a third party who was the one who actually directed them to the

location at which the deal was consummated.         (Trial Tr. 304-320).

     Robert Mott, Petitioner’s co-defendant/co-conspirator tes-

tified that he knew Petitioner for 15 to 20 years; that the two

were in the drug business together from about 1996 through 1998;

that after Mott had made several trips to Florida to pick up ki-

logram-sized packages of powder cocaine from a Jamaican named

“George,” Mott and five of his other drug associates hired Peti-

tioner to make the Florida trips for them; that after making


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three or four trips to Florida, Petitioner also became a member

of Mott’s sale/distribution network; that Petitioner stopped

making trips to Florida after the 1997 Glynn County drug arrest;

and that Petitioner had picked up a total of about five kilograms

of powder cocaine from his Florida trips (Trial Tr. 329-40).

Mott also stated that he generally conducted his deals with Peti-

tioner at Petitioner’s auto shop, but they also occasionally met

at Petitioner’s home.       (Trial Tr. 343-44).

       On cross-examination, Mott stated that he was testifying

pursuant to a plea agreement with the Government; that he negoti-

ated his sentencing exposure down from a life term to a term of

ten years up to life imprisonment; and that he previously had

been convicted of drug charges on two occasions. (Trial Tr. 347-

51).    Mott also stated that Petitioner sold cars from his auto

shop; and he admitted that he had failed to mention any drug

deals with Petitioner during his initial debriefing with the

Government.    (Trial Tr. 353-55).

       Sergeant Terry Wright of the Glynn County, Georgia Police

Department testified that he was present during the December 1997

interstate search and arrest of Petitioner by Officer Owens; and

that the two packages of cocaine which they retrieved weighed

approximately two kilograms.       (Tr. 417-22).

       Special Agent Fred Denson of the Georgia Bureau of Investi-

gations testified that in December 1997, he assisted officers


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from the Glynn County Police Department with their investigation

of Petitioner; that he was present when the two packages of co-

caine were taken from Petitioner’s vehicle; and that field tests

showed that packages contained 4.9 pounds (over two kilograms) of

cocaine.   (Trial Tr. 422-26).    On cross-examination, Denson

stated that Petitioner was charged but not prosecuted for the

Georgia offense because Georgia deferred to the instant federal

prosecution.   (Trial Tr. 427).

     William Stevenson testified that he then was serving a

federal sentence for a drug conspiracy conviction; that he is a

distant cousin of Petitioner’s; that during the early 1990s,

Stevenson sold cocaine to Petitioner for Petitioner’s personal

use; that in the mid-1990s, Petitioner had a “complete turn

around” and Petitioner and one of his co-defendants became well-

connected drug dealers; and that in about 1996, Stevenson bought

two ounces of cocaine base from Petitioner when Stevenson was

unable to get the drugs from his regular supplier. (Trial Tr.

465-67).

     On cross-examination, Stevenson indicated that Petitioner

was not a part of the conspiracy with which he (Stevenson)

operated; that he was testifying pursuant to his cooperation

agreement with the Government; and that he could not recall

whether he mentioned his transaction with Petitioner during his

first debriefing by authorities. (Trial Tr. 470-71 and 483).


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     Isaiah Mayfield testified that he then was serving a federal

sentence for a drug conspiracy conviction; and that he initially

became acquainted with Petitioner through his car detailing work.

(Trial Tr. 504-06).    On cross-examination, Mayfield stated that

he never had directly dealt with Petitioner, but had purchased

cocaine base from Petitioner’s subordinate; that he previously

had told authorities about how he had heard Petitioner talking

about his pre-trial release from following his Georgia arrest;

and that he had entered into a plea agreement with the Govern-

ment.   (Trial Tr. 521, 524 and 530).

     The Government presented additional evidence against Peti-

tioner’s co-defendants, and at the close of that presentation,

Petitioner and his co-defendants sought a judgment of acquittal.

(Trial Tr. 621-24).    Counsel for Petitioner argued that the

Government merely had shown individual drug sales but had not

made a prima facie case showing that Petitioner was a part of an

agreement to traffic in drugs.     (Trial Tr. 624-25).        However,

after viewing the evidence in the light most favorable to the

Government, the Court determined that the defendants’ motions had

to be denied.   (Trial Tr. 626).

     Petitioner and one of his co-defendants declined to present

their own evidence.    (Trial Tr. 634).     However, Petitioner’s

other co-defendant, William Eckles, testified in his own defense.

Eckles denied being a part of a conspiracy, claimed that the


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Government’s witnesses were lying, and told the jury that he knew

of Petitioner but had no relationship with him. (Trial Tr. 638).

     At the close of all of the evidence, the jury convicted

Petitioner and his two co-defendants of conspiring to posses 50

grams or more of cocaine base and five kilograms or more of pow-

der cocaine.    (Case 5:00CR46, document ## 74-76: Jury Verdicts).

     On September 7, 2001, Petitioner filed a pro-se letter-

motion asking the Court to remove trial counsel from his case.

(Case 5:00CR45, document #107).      On September 24, 2001, Peti-

tioner’s attorney filed a Motion to withdraw as counsel and re-

quested the appointment of new counsel.        (Case 5:00CR45, document

# 112).    After the Court made an inquiry into the status of

counsel it orally granted counsel’s motion to withdraw.             There-

after, new counsel was appointed for Petitioner.

     On February 11, 2002, the Court held Petitioner’s Sentencing

Hearing.    On that occasion, defense counsel objected to the Pre-

Sentence Report’s recommendation that Petitioner’s calculations

(totaling the marijuana equivalent of 7,387 kilograms) include

nine ounces of cocaine base which was attributed to Petitioner

based upon a sale he made to Leonard Holland, an individual who

had not testified at trial.     (Sent’g. Tr. 6-7).          In response, the

Probation Officer advised that she had used information from the

case agent and the Government’s files conservatively to estimate

Petitioner’s sentencing exposure.       (Sent’g. Tr. 7).       The Court


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overruled Petitioner’s objection finding that the evidence was

supported by a preponderance of the evidence.            (Sent’g. Tr. 6,

8).    The Court also overruled Petitioner’s pro-se objection that

he had not had sufficient time to review his Pre-Sentence Report

with his new attorney.         (Sent’g. Tr. 8).    Thereafter, the Court

adopted the Report’s calculations reflecting that Petitioner’s

Offense Level was 34, his Criminal History Category was III and

his resulting range of imprisonment was 188 to 235 months.

(Sent’g. Tr. 8-9).

       Next, defense counsel argued that Petitioner was a 49-year-

old who had gotten involved in drug trafficking because of his

own untreated drug dependancy; therefore, counsel asked for a

sentence at the low end of the applicable range.               (Sent’g. Tr.

9).    For his part, Petitioner told the Court that he had been a

drug user for about 12 years, but also had tried to raise two

children as a single parent; that he felt as if his life was

being taken away from him; and that he completely had turned his

life around by giving his life to Christ and getting married.

(Sent’g. Tr. 9-10).       In addition, however, Petitioner told the

Court that he did not believe he had received a fair trial,

though he failed to elaborate on that belief.            (Sent’g. Tr. 10).

At the conclusion of his remarks, Petitioner placed himself on

“the mercy of [the judge] and on [his] God.”            (Sent’g. Tr. 10).

       Upon considering the foregoing, the Court sentenced


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Petitioner to the lowest possible term of 188 months imprison-

ment.    (Sent’g. Tr. 100).   Petitioner timely gave notice of his

appeal to the Fourth Circuit Court of Appeals. (Case 5:00CR, do-

cument # 83).

     After securing the appointment of yet another attorney, on

appeal Petitioner argued that: (1) the prosecutor’s use of a

chart -- with arrows connecting him and his co-defendants to

various trial witnesses –- during her rebuttal closing statement

was improper and warranted a new trial; (2) four separate juror

irregularities, cumulatively, warranted a new trial; (3) this

Court erred in denying his motion to suppress; (4) the evidence

was insufficient to support his conviction; and (5) this Court’s

calculation of the drug quantities attributable to him was erro-

neous.    See United States v. Waddell, 62 Fed. App’x 491 (4th Cir.

April 11, 2003) (unpub.).

     However, the Circuit Court determined, in light of this

Court’s proper instructions concerning the chart’s limited value,

that Petitioner could not establish that he was unfairly preju-

diced by the prosecutor’s use of that prop during her rebuttal

argument. Id. at 495-96.      Furthermore, the appellate Court deter-

mined that this Court had “acted appropriately . . .” and had not

abused its discretion in handling the juror irregularities.             Id.

at 496.    Moreover, the Circuit Court determined that this Court

did not err in denying Petitioner’s motion to suppress because


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the totality of the evidence supported the Court’s conclusion

that Petitioner voluntarily had consented to the subject search.

Id. at 496-97.   Similarly, the Circuit Court found, notwithstand-

ing that some of the testimony came from convicted drug dealers

and Government informants, that the evidence was sufficient to

support Petitioner’s conspiracy conviction.         Id. at 497.

     Last, the appellate Court rejected Petitioner’s challenge to

his sentence, noting that the subject calculations properly were

based upon information set forth in Petitioner’s Pre-Sentence

Report along with the relevant testimony presented during his

trial.   Id. at 498.   Consequently, Petitioner’s conviction and

sentence were affirmed.     Id.

     Petitioner returned to this Court on the instant form-Motion

to Vacate (document # 1).     By that Motion, Petitioner alleges

that he was subjected to numerous instances of ineffective

assistance of trial, sentencing and appellate counsel.            However,

prior to the filing of the Government’s response, Petitioner

amended his Motion to Vacate to delete one of his claims against

sentencing counsel (document # 5, 1).

     However, the Motion to Amend also included two claims that

Petitioner’s sentence was imposed in violation of Apprendi v. New

Jersey, 530 U.S. 466 (2000) and its progeny, Blakely v. Washing-

ton, 542 U.S. 296 (2004); and that he was subjected to a tainted

jury by two separate juror irregularities.


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     In response to Petitioner’s allegations, the Government

filed a lengthy Answer along with affidavits from each of Peti-

tioner’s former attorneys, contending both that Petitioner cannot

establish either a deficiency or resulting prejudice; and that he

otherwise has failed to establish an entitlement to relief on his

Motion.   In reply and response, Petitioner filed a Traverse and

his own Response seeking to rebut the Government’s arguments.

                               II.   ANALYSIS

            1.   Petitioner’s claim under Apprendi and
                 Blakely are not cognizable in this pro-
                 ceeding.

     Taking his claims out of turn, by his amendment, Petitioner

argues that his sentence was imposed in violation of the rules

announced in Apprendi and Blakely.          However, in United States v.

Sanders, 247 F.3d 139, 147-48 (4th Cir. 2001), the Fourth Circuit

Court of Appeals first held that the rules announced in Apprendi

are not retroactively applicable in collateral proceedings like

the instant one.     Further, since the time that Sanders was decid-

ed, the Fourth Circuit has held that the rules announced in

Blakely and its progeny, United States v. Booker, 543 U.S. 220

(2005), also cannot retroactively be applied in collateral pro-

ceedings.    United States v. Morris, 429 F.3d 65, 72 (4th Cir.

2005).    Not surprisingly, the Circuit Court consistently has ad-

hered those holdings.       See United States v. Marshall, 117 Fed.

App’x 269, 270 (4th Cir. Dec. 22, 2004) (rejecting Blakely claim


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on the ground that the Supreme Court had not made Blakely appli-

cable to cases on collateral review); United States v. Francis,

29 Fed. App’x 128, 130 (4th Cir. Jan. 23, 2002) (vacating sen-

tence reduction imposed after §2255 motion was granted on Appren-

di claim, finding that district court’s order “squarely conflict-

[ed] with Sanders.”); Harrison v. United States, 28 Fed. App’x

311 (4th Cir. Feb. 8, 2002) (dismissing appeal of the denial of §

2255 motion, noting that Sanders decision precluded relief on

Apprendi claims); and United States v. Clarkson, 8 Fed. App’x 240

(4th Cir. May 4, 2001) (same).

     Accordingly, inasmuch as Petitioner is seeking retroactive

application of Apprendi and Blakely in this collateral proceed-

ing, his claim of sentencing error must summarily be rejected.

           2.   Petitioner’s claim that he was subjec-
                ted to a tainted jury by virtue of a
                juror’s exposure to a newspaper arti-
                cle is procedurally barred.

     Petitioner’s amendment also alleges that he was subjected to

a tainted jury, in part2 by virtue of a juror’s inadvertent expo-

sure to a newspaper article about his case.           Therefore, Petition-

er claims he is entitled to a new trial.          However, Petitioner’s

direct appeal raised this issue in the context of his claim that



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       Petitioner also claims that the jury was tainted by a juror’s untimely
revelation that he recognized one or more of the defendants from having seen
them at a Wal-Mart where he held a part-time job. However, because Petitioner
also alleges that trial counsel was ineffective for having failed to seek a
mistrial on that basis, the Court has chosen to address this claim in the
context of its discussion of counsel’s performance.

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this Court had erred in its handling of this and three other

juror irregularities.       See Waddell, 62 Fed. App’x at 496. On that

occasion, the Court of Appeals flatly rejected the contention

asserting that this Court had “acted appropriately and the

appellants’ argument is without merit.”         Id.

     The law is well settled that in the absence of a favorable,

intervening change in the law which can be applied on collateral

review, a petitioner simply is not free to re-litigate claims

which already were rejected on direct review.          Davis v. United

States, 417 U.S. 333, 342 (1974); Boeckenhaupt v. United States,

537 F.2d 1182, 1183 (4th Cir. 1976).        Accordingly, inasmuch as

Petitioner merely is seeking to revisit the same juror irregu-

larity issue that was rejected on direct appeal without directing

the Court to any intervening change in law which authorizes him

to do so, this claim procedurally is barred.

           3.   All but one of Petitioner’s claims against
                his former attorneys are belied by the record.

     With respect to allegations of ineffective assistance of

counsel, a petitioner must show that counsel's performance was

constitutionally deficient to the extent it fell below an objec-

tive standard of reasonableness, and that he was prejudiced

thereby.   Strickland v. Washington, 466 U.S. 668, 687-91 (1984).

In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable pro-

fessional assistance. Id. at 689; see also Fields v. Attorney

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Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1985); Hutchins

v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); and Marzullo

v. Maryland, 561 F.2d 540 (4th Cir. 1977).

     Furthermore, in considering the prejudice prong of the anal-

ysis, the Court must not grant relief solely because a petitioner

can show that, but for counsel’s performance, the outcome of the

proceeding would have been different.       Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998).    Rather, the Court “can only grant re-

lief under . . . Strickland if the ‘result of the proceeding was

fundamentally unfair or unreliable.’” Id., quoting Lockhart v.

Fretwell, 506 U.S. 364, 369 (1993).

     To put it another way, in order to demonstrate prejudice, a

petitioner must show a probability that the alleged errors worked

to his "actual and substantial disadvantage, infecting his trial

with error of constitutional dimensions."        Murray v. Carrier, 477

U.S. 478, 494 (1986), citing United States v. Frady, 456 U.S.

152, 170 (1982).     Under these circumstances, then, the petitioner

“bears the burden of proving Strickland prejudice.”           Fields, 956

F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31.           Therefore,

if the petitioner fails to meet this burden, a “reviewing court

need not consider the performance prong.”        Fields, 956 F.2d at

1290, citing Strickland, 466 U.S. at 697.

                A.    Trial Counsel

     Petitioner claims that trial counsel was ineffective for


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having failed to subject the Government’s case to meaningful,

adversarial testing by exposing all of the inconsistencies be-

tween Paul Bines and Robert Mott’s trial testimony and their out-

of-court statements to authorities.        However, Petitioner subse-

quently conceded that counsel did “question Bines regarding the

inconsistencies between what he said in Court and what he had

told Police . . . . [and] “at least showed reasonable doubt as to

why any competent observers should believe Bines testimony. . . ”

(document # 3, Petr.’s Supp. Memo. 3-4).

     Furthermore, the Court’s review of the record reveals that

counsel’s cross-examination also revealed inconsistencies between

Mott’s testimony and his pre-trial, unsworn statements to autho-

rities.    Indeed, the record shows that counsel questions estab-

lished: (1) that both Bines and Mott were testifying pursuant to

plea or other agreements by which they hoped to earn reduced sen-

tences for themselves, thereby giving them motive to fabricate

their testimony; (2) that both were convicted felons, further

eroding their veracity; and (3) that Bines was having difficulty

recalling the particulars of the events about which he was tes-

tifying.    However, Petitioner apparently ignores the fact that

much of the damning testimony which was given by Bines, Mott and

the other non-law enforcement witnesses largely was corroborated

by other evidence, including the testimony of several law en-

forcement witnesses whose testimony simply was not vulnerable to


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serious attack.   Thus, on this record, Petitioner cannot show

either deficient performance or prejudice on this claim.

     Petitioner also alleges that trial counsel failed to protect

him from the improper, prejudicial remarks of the prosecutor

which were made during closing argument.        Specifically, Peti-

tioner claims that the prosecutor improperly vouched for Mott’s

credibility when: (1) she reminded the jury of the law enforce-

ment testimony about the 1997 Georgia incident, and asserted that

the officer’s testimony “support[ed] what [the jury] heard from

Robert Mott” and told them that “Robert Mott is believable”; (2)

she asserted several times that the testimony given by various

other witnesses about Petitioner and his co-defendant/co-

conspirators was consistent with Mott’s testimony; and (3) she

referred to Mott’s guilty plea.

     In United States v. Lewis, 10 F.3d 1086, 1089 (4th Cir.

1993), the Fourth Circuit explained that:

          Vouching generally occurs when the prosecu-
          tor’s actions are such that a jury could
          reasonably believe that the prosecutor was
          indicating a personal belief in the credi-
          bility of the witness. Consequently, the
          prosecutor may not, among other things, make
          explicit personal assurances that a witness
          is trustworthy or implicitly bolster the
          witness by indicating that information not
          presented to the jury supports the testimony.

Applying the foregoing to the instant case, it is clear that no

such vouching took place.

     First, the prosecutor never told the jury of her personal

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beliefs, made personal assurances, or otherwise suggested that

Mott was believable based upon evidence which had not been pre-

sented in court.   Second, the Court’s instructions concerning the

evidence advised the jury that it had the duty of determining the

facts based solely upon the testimony of the witnesses, and the

evidence properly admitted in their presence. (Trial Tr., Vol. V

659).   Those instructions also made it clear that the jury had

the sole responsibility of determining the credibility of the

witnesses, and they explained the factors which were to be weigh-

ed in making that determination (Trial Tr., Vol. V 664). Third,

the law is clear that the prosecutor was free to present the

details of Mott’s plea agreement, including his promise to give

truthful testimony.    United States v. Henderson, 717 F.2d 135,

138 (4th Cir. 1983).    Thus, in light of the foregoing, Petition-

er’s claim of vouching is factually and legally baseless.

     Petitioner also claims that trial counsel failed to protect

his right to confront three persons, Leonard Holland, Angela

Humes and Freddie Joyner, who were not called as witnesses, but

whose out-of-court statements supposedly were used against him.

However, Petitioner does not even bother to specify what favora-

ble, unimpeachable testimony he believes Holland and Joyner would

have provided for him.      Nevertheless, this Court conducted its

own review and determined that even if he could have given favor-

able testimony for Petitioner, on cross-examination Joyner would


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have been forced to admit a 52-gram cocaine sale which other

witnesses already had told the jury that Joyner completed at

Petitioner’s direction.        Similarly, Holland would have been

cross-examined about the other witnesses’ testimony concerning

his involvement in multiple drug transactions with Petitioner and

certain of Petitioner’s co-defendant/co-conspirators.

       As to Ms. Humes, Petitioner provides two reports of inter-

view which reflect that she was a confidential informant for the

Government who abused crack and worked as a book keeper at Peti-

tioner’s auto body shop (document # 3, Petr’s Supp. Memo, exh. D-

1).    Humes further reported that she did not record any of the

Petitioner’s two to five thousand dollar business transactions in

his company records nor deposited them into any bank account;

that Petitioner kept the money from those transactions in a

broken-down vehicle; that Petitioner made about $350.00 per week

at his shop; that she accompanied Petitioner on a trip to Florida

for the sale of a vehicle; and that the Florida sale was not

completed.

       On the other hand, such reports reflect that had Humes              been

called by trial counsel to testify, she also would have given

damaging testimony against him on cross-examination.              Indeed,

Humes would have had to admit that her interviews included her

statements that during the time she worked for Petitioner, he

made her leave when certain persons came by the shop; she heard


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several subjects discuss ordering more drugs from Petitioner; she

observed numerous people give money to Petitioner at the shop;

during the Florida trip, Humes and Petitioner met up with another

man and woman who followed them around Florida in a separate car;

the four went to several different houses in Jacksonville; the

four also drove to Miami where they spent time placing telephone

calls from a motel; they subsequently drove to a house in Orlando

where Petitioner was told by a different woman that “it’s in the

car”; the woman with whom they had been traveling gave Petitioner

a tube of toothpaste which he spread onto three or four brick-

like packages inside a bucket; Petitioner took the bucket of

packages to the front of the car and began to work under its

hood; and she and Petitioner then proceeded to return to North

Carolina, but were stopped and arrested for drugs in Georgia.

     Based upon the foregoing, then, Petitioner cannot show that

trial counsel’s tactical decision not to call these persons as

witnesses either was deficient or prejudicial.          On the contrary,

this record is sufficient to support a conclusion that counsel

reasonably could have found that such witnesses’ testimony was

more harmful than beneficial to Petitioner.

     Petitioner also contends that trial counsel was ineffective

for his failure to seek a mistrial on the ground that the jury

was tainted by Juror Nine.     In particular, Petitioner contends

that counsel should have sought a mistrial when Juror Nine


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belatedly disclosed that he recognized one or more of the

defendants.

     Whether to grant a motion for mistrial is left to the broad

discretion of the trial court.      See, e.g., United States v. Dor-

louis, 107 F.3d 248, 257 (4th Cir. 1997) (“denial of a defen-

dant’s motion for mistrial is within the sound discretion of the

district court and will be disturbed only under the most extra-

ordinary of circumstances”); United States v. Smith, 44 F.3d

1259, 1267 (4th Cir. 1995) (same).          Moreover, “[i]n the instance

of a biased juror, that juror can be dismissed and replaced with

an alternate juror.”    United States v. Hayden, 85 F.3d 153, 157

(4th Cir. 1996) (internal quotations and citations omitted)

(affirming denial of mistrial after sole African-American juror

advised the trial court he knew a witness and was removed from

jury).   Accord United States v. Thompson, 744 F.2d 1065, 1068

(4th Cir. 1984).

     This Court’s review of the transcript along with the records

of Susan Hankins, the Deputy Clerk of Court who assisted the un-

dersigned with this trial, reflects that on May 14, 2001, the

jury retired to begin deliberating at 3:59 p.m. but at 4:05 p.m.,

Juror Nine sent the Court a note, which note caused the Court

immediately to halt those deliberations.          The subject note ad-

vised the Court that:       Juror Nine recognized one or more of the

defendants but did not know them; that he believed that he had


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seen two of them at a Wal-Mart store where he worked; that he be-

lieved that two of the defendants recognized him; and that he was

concerned about retaliation.       (Jury Delib. Tr. 4-5).

     At 4:18 p.m. the attorneys were assembled to discuss the

matter.   (Jury Delib. Tr. 5). After that discussion, the attor-

neys agreed to have Juror Nine questioned about whether he had

written the note and stood by its assertions.          (Jury Delib. Tr.

5-6).   In the event he did, the attorneys agreed to have Juror

Nine excused, and to poll the remaining jurors to determine

whether they also were tainted by the note.          Notably, however,

Petitioner’s counsel further expressly reserved his right to seek

a mistrial in the event that the results of that inquiry warrant-

ed such action.    (Jury Delib. Tr. 6-7).

     Upon questioning, Juror Nine advised that he was at lunch

that day when he realized that he recognized the defendants.

(Jury Delib. Tr. 7). Juror Nine further reiterated the contents

of his note and apologized for not having sooner informed the

Court of that matter.       (Jury Delib. Tr. 7-8).     Consistent with

the attorneys’ agreement, the Court excused Juror Nine and called

the remaining jurors into the courtroom for questioning about the

note.   (Jury Delib. Tr. 8).      In response to the question, the

other jurors all indicated that they had not discussed the note

with Juror Nine.    (Jury Delib. Tr. 11).       Thus, after the attor-

neys declined the opportunity to further question the jury, Juror


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Nine was replaced by an alternate, and then the Court then in-

structed the jury to begin anew its deliberations.            (Jury Delib.

Tr. 11-12).    The jury deliberated for an additional 23 minutes

until it asked to be released for the evening.          (Jury Delib. Tr.

13).    On the following day, the jury resumed its deliberations at

9:00 a.m and reached its guilty verdicts at 10:32 a.m., for a

total of approximately 1:55 minutes of deliberations.            (Jury

Delib. Tr. 16-17).

       The foregoing refutes Petitioner’s claim that trial counsel

should have sought a mistrial.     Petitioner does not even attempt

to articulate how he believes the entire jury was tainted by

Juror Nine, nor has this Court discovered any evidence in the

record to support such a conclusion.       Rather, the record reflects

that only Juror Nine was tainted by his knowledge of the defen-

dants and possible fear of them; and that his removal from

service remedied that taint.     Consequently, on this record the

Court concludes that counsel was not ineffective for not having

moved for a mistrial, which motion, in this Court’s opinion,

would have been found to be meritless.

                      B.    Sentencing Counsel

       As to sentencing counsel, Petitioner first contends that she

failed to spend more than 67 minutes reviewing his Pre-Sentence

Report with him.    However, this Court fully addressed and reject-

ed this issue during Petitioner’s Sentencing Hearing.


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       Indeed, on the occasion of that Hearing, Petitioner claimed

that he and counsel had not sat down and talked about the Report.

(Sent’g. Tr. 3).      For her part, counsel reported that she twice

had met with Petitioner at the County Jail, she had spoken to him

by telephone on several occasions, and she had met with him in

the Marshal’s holding cell prior to the Hearing.                (Sent’g. Tr.

5).    Nevertheless, Petitioner further advised the Court that his

chief complaint about counsel and his Pre-Sentence Report had to

do with his objection to the drug quantities attributed to him by

Leonard Holland.      (Sent’g. Tr. 6).        However, counsel advised that

she thoroughly had reviewed Petitioner’s Report, and had filed

objections to the Report based upon her conversations with him.

(Sent’g. Tr. 5).      In addition, the Probation Officer explained

the source of her calculations. (Sent’g. Tr. 7).

       At that point, the Court determined that the amounts which

Petitioner was challenging were established by trial testimony

and the case report; and that such quantities, in the aggregate,

were sufficient to support the Report’s calculations. (Sent’g.

Tr. 6, 8).     Therefore, the Court concluded that Petitioner had

been given sufficient time to review his Report with counsel and

overruled the objection to the calculations.             (Sent’g. Tr. 8).

       Despite the fact that Petitioner is attempting to rehash his

earlier claim of insufficient time, he has failed to point to any

additional matters which he believes counsel would have been able


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to raise had she spent more time with him.          Moreover, the record

is clear, as Petitioner concedes, that even if the Court had used

the 7,302 kilogram marijuana equivalent quantity instead of the

7,387 amount which it actually used or the 7,988 kilogram quan-

tity which Petitioner erroneously contends was used, his sentence

would not have changed because the offense level and correspond-

ing sentencing range for all three quantities was exactly the

same.    Simply put, even if this claim could be re-litigated,

Petitioner would not be able to show either a deficiency or a

prejudicial result on the basis of his attorney’s handling of his

Pre-Sentence Report.

       Petitioner also claims that sentencing counsel failed to

protect his right to confront his accusers at sentencing.              How-

ever, the crux of this claim already has been rejected on direct

appeal.

       Indeed, on appeal Petitioner argued that his sentence was

erroneously calculated.     However, the appellate Court observed

that “[i]n calculating drug amounts, the [district] court may

consider any relevant information, provided that the information

has sufficient indicia of reliability to support its probable

accuracy. . . . Even hearsay alone can provide sufficiently re-

liable evidence of drug quantity.”         Waddell, 62 Fed. App’x at

498.    Furthermore, the appellate Court stated that it was permis-

sible for this Court to “approximate the amount of drugs, erring


                                   31


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on the side of caution.”       Id.   On those bases, therefore, the

appellate Court concluded that this Court had not abused its

broad discretion, and its sentencing calculations were not

erroneous.   Id.   Thus, because Petitioner’s sentence was correct-

ly calculated, he cannot establish that counsel was ineffective

for having chosen not to secure the three persons as sentencing

witnesses.

     Furthermore, it has not escaped the Court’s attention that

this claim is also factually erroneous.         That is, the 1,676 grams

of cocaine which Petitioner seeks to connect to Ms. Humes actu-

ally was the subject of the Georgia officers’ testimony; and the

52 grams of cocaine which Petitioner seeks to link to Mr. Joyner

was the subject of the North Carolina officers and an informant’s

testimony.   And, while the nine ounces of cocaine base which were

linked to Mr. Holland were not the subject of any trial testi-

mony, the appellate Court approved of its inclusion as having

been established from the case file by a preponderance of the

evidence.    In sum, therefore, even if Petitioner’s claim were not

foreclosed by the Circuit Court’s prior rejection of it, he still

could not show that counsel was deficient in this regard.

     Petitioner also claims that sentencing counsel failed to

argue against the disparity in punishment between crack and pow-

der cocaine offenses.       However, in 2002 when Petitioner was

sentenced, the Fourth Circuit repeatedly was upholding the 100:1


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variation between crack and powder cocaine sentences imposed by

Congress under the relevant statutes.         See, e.g., United States

v. Burgos, 94 F.3d 849, 876-77 (4th Cir. 1996) (en banc); United

States v. Fisher, 58 F.3d 96, 99-100 (4th Cir. 1995).              In fact,

even as late as 2006 in United States v. Eura, 440 F.3d 625, 633

(4th Cir. 2006), the Fourth Circuit reversed a district court’s

post-Booker attempt to vary downward from the Guidelines’ advi-

sory sentencing range to impose a lower term based upon the

subject disparity.

      Indeed, it was not until the Supreme Court decided the case

of United States v. Kimbrough, 128 S.Ct. 558, 573-74 (2008), that

the holding in Eura was abrogated based upon Kimbrough’s deter-

mination that “it would not be an abuse of discretion for a

district court to conclude when sentencing a particular defendant

that the crack/powder disparity yields a sentence ‘greater than

necessary’ to achieve § 3553(a)’s purposes, even in a mine-run

case.”    See also U.S. Sentencing Guidelines Amendment 706.3

Therefore, because Kimbrough had not been decided at the time of

Petitioner’s sentencing, and the Sixth Amendment does not require

attorneys to make arguments based upon anticipated favorable

changes in the law, counsel could not have been ineffective for



      3
        On November 1, 2007, the United States Sentencing Commission adopted
Amendment 706 to the U.S. Sentencing Guidelines. Such Amendment reduces the
drug quantity thresholds in U.S.S.G. § 2D1.1 so as to assign, for crack
cocaine offenses, base offense levels which correspond to guidelines ranges
that include the statutory mandatory minimum penalties.

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having failed to challenge the disparity between the punishments

for crack and powder cocaine convictions.

     This Court also must reject Petitioner’s claim that sentenc-

ing counsel was ineffective for failing to argue that the con-

trolled substance in question was not crack cocaine but some

other form of cocaine base.     Rather, while it once was an open

question, the Fourth Circuit squarely has held that “cocaine

base” -- the substance identified both in Petitioner’s Indictment

and in the jury’s special verdict (Case 5:00CR46, document # 74),

by which Petitioner’s involvement with “50 grams or more of co-

caine base” has been established -- includes what commonly is

known as “crack.”   United States v. Perkins, 108 F.3d 512, 518

(4th Cir. 1997).

     Last concerning sentencing counsel, Petitioner contends that

she was ineffective for failing to protect his right to be sen-

tenced upon true and accurate information, that claim also must

be rejected.   Again, notwithstanding the fact that a party to one

of the drug transactions which was attributed to Petitioner never

was called as a witness by either party, the accuracy and pro-

priety of his sentence already has been approved by the Fourth

Circuit Court of Appeals.     Waddell, 62 Fed. App’x at 498.

          C.   Appellate Counsel

     Petitioner claims that appellate counsel was ineffective for

having raised only a single, weak claim for review and for his


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handling of the conclusion of Petitioner’s appeal.

     As to that first argument, Petitioner contends that appel-

late counsel should have raised the “stronger issue” concerning

the violation of his Confrontation rights. . . .”            However, the

record reflects that Petitioner’s claim is factually erroneous to

the extent that the Fourth Circuit’s opinion shows that appellate

counsel raised five separate arguments on Petitioner’s behalf.

See Waddell, 62 Fed. App’x at 492-97.

     Moreover, to the extent that Petitioner’s so-called confron-

tation issue is challenging the propriety of his sentence, such

claim must be rejected.     That is, this thinly disguised assault

on Petitioner’s sentencing calculations already has been tho-

roughly addressed and rejected by the Circuit Court, Waddell, 62

Fed. App’x at 498, and by this Court in the preceding subsection.

Therefore, Petitioner cannot possibly establish either deficient

performance or prejudice concerning appellate counsel’s handling

of this claim.

     Last as to appellate counsel, Petitioner also claims that he

failed to give him copies of the Fourth Circuit’s decision until

eight months after that decision was rendered.          In response, the

Government has submitted an Affidavit from counsel in which he

denies this claim by asserting that following the issuance of the

Circuit Court’s decision, counsel advised Petitioner of the

outcome before the expiration of the time in which he could have


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requested certiorari review had he wanted to do so.

       This Court’s resolution of Petitioner’s claim is guided by

the case of United States v. King, 11 Fed. App’x 219 (4th Cir.

May 23, 2001) (unpublished).        King involved the appeal of the

denial by the United States District Court for the Eastern Dis-

trict of Virginia of a motion to vacate on the grounds of

ineffective assistance of counsel, including a claim that counsel

had failed to advise the petitioner of the disposition of his

direct criminal appeal in time for him to petition the Supreme

Court for certiorari review. Id. at 220.           The district court

denied relief on both of the petitioner’s claims.              Id.

       On appeal, the Fourth Circuit affirmed the denial of the

claim which was unrelated to the certiorari petition, but vacated

the district court’s judgment as to the certiorari issue and

remanded the case for a determination of whether counsel, in

fact, had failed timely to notify Petitioner of the results of

his appeal.     Id. at 221.     Equally critically, the appellate Court

explained that in the event the district court found that counsel

was deficient as alleged, then the petitioner would be required

to move the Fourth Circuit Court for “recall and re-issuance of

the mandate in his criminal appeal [], and for appointment of

counsel to assist him with any petition for writ of certiorari he

may [have wished] to file in the Supreme Court in that case.”

Id.


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     Subsequently, in United States v. Brown, 2007 WL 4570544

(W.D.Va. Feb. 6, 2007), the same district court was confronted

with several allegations against counsel, including a similar

claim that counsel was ineffective for her failure timely to file

a certiorari petition for her client after having been asked by

the client to do so.    Once again, the district court rejected the

non-certiorari related allegations against counsel.           Id. at 2.

However, that time, the district court also determined that

counsel was ineffective in her handling of the petitioner’s re-

quest for a certiorari petition, and that “[t]he appropriate

remedy for counsel’s omission is the reentry of the judgment

affirming the original conviction and sentence . . . .”            Id.

Indeed, the Brown Court noted that district courts “lack[]

authority to grant such a remedy.       Rather, Petitioner must move

the Fourth Circuit to vacate and reenter the judgment affirming

his original conviction and sentence.”       Id., citing King, 11 Fed.

App’x at 221.

     In the instant case, appellate counsel’s affidavit reports

that following the Circuit Court’s decision counsel notified

Petitioner of that matter.     Such statement falls short of conclu-

sively establishing that counsel fulfilled his obligation to

Petitioner.     Specifically, counsel’s Affidavit fails to indicate

when, exactly, he notified Petitioner of the result and that the

notification was made in writing –- the only unacceptable means.


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Nor does the Affidavit report that counsel’s notification advised

Petitioner of his right to seek further direct review. See Fourth

Circuit Local Rule 46(d) and the Fourth Circuit’s Plan for Im-

plementation of the Criminal Justice Act of 1964 (requiring

timely written notification of the result of an appeal and of the

right to petition for certiorari).         Indeed, had counsel given

Petitioner proper written notice of these matters, he certainly

could have submitted a copy of such letter as an exhibit to his

Affidavit.   Counsel’s failure in this regard gives the Court

pause and leads the Court to conclude, out of an abundance of

caution, that Petitioner’s Motion to Vacate should be granted,

but solely as to his claim that counsel failed timely to notify

him of the result of his criminal appeal.         Should Petitioner

chose to do so, he may pursue his remedies with the Circuit Court

as will be explained more fully in this Court’s decretal clause

below.

     Finally, it goes without saying that since Petitioner has

failed to demonstrate that he was subjected to ineffective assis-

tance of counsel in any other regard, he also cannot demonstrate

that his attorneys failed to adhere to the prevailing profession-

al norms on the basis of their handling of his other claims.

                            III.   CONCLUSION

     Petitioner has demonstrated that his appellate attorney was

ineffective for his failure timely to notify Petitioner of the


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outcome of his direct appeal, and the Government has failed

sufficiently to overcome that demonstration.         Consequently, the

Court finds that counsel was deficient in that regard for pur-

poses of this Order only and that Petitioner should be permitted

to pursue his remedies on that claim at the Fourth Circuit Court

of Appeals.   However, consistent with the practice set out in

King and Brown, this Court considered Petitioner’s remaining

claims against his former attorneys, but rejected them as

factually and/or legally baseless.

                  IV.   NOTICE OF APPELLATE RIGHTS

     Mr. Waddell, YOU HEREBY ARE ADVISED that this Court has

determined that your appellate counsel was ineffective insofar as

he failed timely to notify you of the result of your direct

appeal and of your right to seek certiorari review as provided

under the Plan of the United States Court of Appeals for the

Fourth Circuit, in Implementation of the Criminal Justice Act of

1964.   Therefore, you may file a motion with the Fourth Circuit

Court of Appeals asking that Court to vacate its Judgment affirm-

ing your appeal and to reenter such Judgment so that you can file

a Petition for a Writ of Certiorari in the Supreme Court.             If you

desire the assistance of counsel to help with the filing of your

certiorari petition but cannot afford to hire counsel, you may

ask the Fourth Circuit Court of Appeals to appoint counsel to

assist you in pursuing further relief on your direct appeal.


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     In addition, you may appeal this Court’s decision on your

remaining claims at the Fourth Circuit Court of Appeals.             In

either case, your motion and appeal must be filed no later than

thirty days after the entry of this Order.

     If you previously were determined to be indigent in connec-

tion with your criminal case, or if you now are indigent and are

unable to pay for an appeal, you may request permission to pro-

ceed on appeal without having to pay the applicable filing fees.

                               V.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

     1.   Petitioner’s Motion to Vacate (document # 1) is GRANTED

in part for the sole purpose of granting him limited relief on

his claim that his appellate attorney failed timely to provide

him with notice of the results of his direct appeal and of his

right to file a Petition for a Writ of Certiorari in the Supreme

Court.    However, such Motion to Vacate is DENIED in part as to

the remaining claims raised therein.

     2.   Consistent with the preceding paragraph, the Govern-

ment’s de facto motion for summary judgment (document # 9) is

DENIED in part and GRANTED in part.

     3.   Petitioner may file a motion with the Fourth Circuit

seeking to have the Judgment affirming his direct appeal reenter-

ed and may appeal this Court’s Judgment (i.e., the instant Order)

as has been explained in this Order; and

                                    40


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     5.   That the Clerk shall send copies of this Order to

Petitioner, the United States Attorney for the Western District

of North Carolina, and to the Clerk of the Fourth Circuit Court

of Appeals.

     SO ORDERED.

                                    Signed: January 26, 2009




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